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 Fill in this information to identify your case:

 Debtor 1                  Charles C. Blackwell
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $48,057.68           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 1      Charles C. Blackwell                                                                        Case number (if known)   19-10958


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                      $147,000.10           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $83,613.00           Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Dale Robinson,                                            Civil                      Magistrate Court of Carroll                 Pending
       Plaintiff,                                                                           Co                                          On appeal
       vs.                                                                                  166 Indpendent Drive, #A
                                                                                                                                        Concluded
       Charles C. Blackwell,                                                                Carrollton, GA 30116
       Defendant.
       2019CV00903


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




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 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Smith Conerly LLP                                             Attorney Fees                                            4/10/2019                   $3,500.00
       402 Newnan Street
       Carrollton, GA 30117
       awilson@smithconerly.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you
       Walker GMC                                                    BMW 535D                                   2018 2500 Sierria              9/18
       1492 N Park St
       Carrollton, GA 30117

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Debtor 1      Charles C. Blackwell                                                                             Case number (if known)   19-10958


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




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             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Blackwater Technologies, Inc.                            Low voltage installer                           EIN:         XX-XXXXXXX
        270 Cable Industrial Blvd.
        Carrollton, GA 30117                                     Marshall Jones                                  From-To      May 2016-current
                                                                 26 Lenox Pointe NE
                                                                 Atlanta, Georgia 30324

        Blackwater Properties Mangement                          Commercial Property Mangement                   EIN:         XX-XXXXXXX
        LLC
        270 Cable Industrial Blvd.                               Marshall Jones                                  From-To      7/2/2012-current
        Carrollton, GA 30117                                     26 Lenox Pointe NE
                                                                 Atlanta, Georgia 30324

        BlackH2O LLC                                             No Designation                                  EIN:         XX-XXXXXXX
        263 Old Five Notch Road
        Whitesburg, GA 30185                                     Marshall Jones                                  From-To      1/26/2018
                                                                 26 Lenox Pointe NE
                                                                 Atlanta, Georgia 30324


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Synovus Bank                                             03/2017
        1000 Veterans Pkwy
        Ground Floor
        Columbus, GA 31901

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Charles C. Blackwell
 Charles C. Blackwell                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      May 30, 2019                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case and this filing:

 Debtor 1                    Charles C. Blackwell
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA

 Case number            19-10958                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        263 Old Five Notch Road                                                        Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Whitesburg                        GA        30185-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $350,980.00                $350,980.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Carroll                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $350,980.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Charles C. Blackwell                                                                           Case number (if known)    19-10958
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       GMC                                       Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Sierra                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2018                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:             25,000.00                  Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch
         Road, Whitesburg GA 30185                                   Check if this is community property                      $45,000.00                  $45,000.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Escape                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  50,000                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch
         Road, Whitesburg GA 30185                                   Check if this is community property                        $7,000.00                   $7,000.00
                                                                     (see instructions)



  3.3    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Escape                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2016                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  60,000                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 270 Cable Industrial
         Blvd., Carrollton, Georgia 30117                            Check if this is community property                        $8,000.00                   $8,000.00
                                                                     (see instructions)



  3.4    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F150                                            Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                350,000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch
         Road, Whitesburg GA 30185                                   Check if this is community property                        $5,000.00                   $5,000.00
                                                                     (see instructions)



  3.5    Make:       Honda                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      420                                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:             Unknown                    Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch
         Road, Whitesburg GA 30185                                   Check if this is community property                        $2,000.00                   $2,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 2
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 Debtor 1        Charles C. Blackwell                                                                               Case number (if known)       19-10958

  3.6    Make:       Mini Truck                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Suzuki                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1999                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:           170,000 km                   Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch
         Road, Whitesburg GA 30185                                   Check if this is community property                                $3,000.00                  $3,000.00
                                                                     (see instructions)



  3.7    Make:       John Deere                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      5045 Tractor                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch
         Road, Whitesburg GA 30185                                   Check if this is community property                              $20,000.00                 $20,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Camper                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Outback                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only                                            Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 263 Old Five Notch                                Check if this is community property                              $5,000.00                    $5,000.00
         Road, Whitesburg GA 30185                                   (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $95,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous household goods and furnishings.
                                    Location: 263 Old Five Notch Road, Whitesburg GA 30185                                                                          $1,750.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Miscellaneous electronics.
                                    Location: 263 Old Five Notch Road, Whitesburg GA 30185                                                                          $1,000.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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 Debtor 1         Charles C. Blackwell                                                                                        Case number (if known)   19-10958

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            Marlin .22,
                                            2 CVA 50 cal Muzzleloader
                                            Mossberg 12 gauge shotgun
                                            Ruger 243
                                            Smith and Wesson 40 cal pistol                                                                                               $800.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Everyday clothing.
                                            Location: 263 Old Five Notch Road, Whitesburg GA 30185                                                                       $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $4,050.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................



Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 1         Charles C. Blackwell                                                                           Case number (if known)   19-10958


                                                                                                                    Cash                                      $20.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                         17.1.    Checking                     BB&T                                                                         $215.00



                                         17.2.    Savings                      BB&T                                                                           $50.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                % of ownership:

                                            Blackwater Technologies, Inc.                                               50          %                           $0.00


                                            Blackwater Properties Mangement LLC                                         50          %                   $25,000.00


                                            BlackH2O LLC                                                               100          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                               Institution name:

                                         401(k)                                MassMutual Retirement Services LLC                                       $22,603.96


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
Official Form 106A/B                                                    Schedule A/B: Property                                                                  page 5
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 Debtor 1        Charles C. Blackwell                                                                    Case number (if known)      19-10958

        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Possible tax refund for 2018.                                                               Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Unsecured loan to Blackwater Technologies, Inc.                                              $41,592.78


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

Official Form 106A/B                                                   Schedule A/B: Property                                                              page 6
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 Debtor 1         Charles C. Blackwell                                                                                                  Case number (if known)   19-10958
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
        Yes. Give specific information..

                                                             Wyndham Resort Development, time share.                                                                                    $0.00


                                                             Excess contribution refund, MassMutual 401(k).                                                                       $1,224.50


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                 $90,706.24


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $350,980.00
 56. Part 2: Total vehicles, line 5                                                                           $95,000.00
 57. Part 3: Total personal and household items, line 15                                                       $4,050.00
 58. Part 4: Total financial assets, line 36                                                                  $90,706.24
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $189,756.24               Copy personal property total             $189,756.24

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $540,736.24




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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 Fill in this information to identify your case:

 Debtor 1                 Charles C. Blackwell
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2008 Ford F150 350,000 miles                                     $5,000.00                                 $5,000.00     O.C.G.A. § 44-13-100(a)(3)
      Location: 263 Old Five Notch Road,
      Whitesburg GA 30185                                                                  100% of fair market value, up to
      Line from Schedule A/B: 3.4                                                          any applicable statutory limit

      2014 Honda 420 Unknown miles                                     $2,000.00                                 $2,000.00     O.C.G.A. § 44-13-100(a)(6)
      Location: 263 Old Five Notch Road,
      Whitesburg GA 30185                                                                  100% of fair market value, up to
      Line from Schedule A/B: 3.5                                                          any applicable statutory limit

      1999 Mini Truck Suzuki 170,000 km                                $3,000.00                                 $3,000.00     O.C.G.A. § 44-13-100(a)(6)
      miles
      Location: 263 Old Five Notch Road,                                                   100% of fair market value, up to
      Whitesburg GA 30185                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.6

      2009 Camper Outback                                              $5,000.00                                 $5,000.00     O.C.G.A. § 44-13-100(a)(6)
       Location: 263 Old Five Notch Road,
      Whitesburg GA 30185                                                                  100% of fair market value, up to
      Line from Schedule A/B: 4.1                                                          any applicable statutory limit

      Miscellaneous household goods and                                $1,750.00                                 $1,750.00     O.C.G.A. § 44-13-100(a)(4)
      furnishings.
      Location: 263 Old Five Notch Road,                                                   100% of fair market value, up to
      Whitesburg GA 30185                                                                  any applicable statutory limit
      Line from Schedule A/B: 6.1

Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Charles C. Blackwell                                                                        Case number (if known)     19-10958
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous electronics.                                        $1,000.00                                 $1,000.00        O.C.G.A. § 44-13-100(a)(4)
     Location: 263 Old Five Notch Road,
     Whitesburg GA 30185                                                                   100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     Marlin .22,                                                         $800.00                                   $800.00        O.C.G.A. § 44-13-100(a)(6)
     2 CVA 50 cal Muzzleloader
     Mossberg 12 gauge shotgun                                                             100% of fair market value, up to
     Ruger 243                                                                             any applicable statutory limit
     Smith and Wesson 40 cal pistol
     Line from Schedule A/B: 10.1

     Everyday clothing.                                                  $500.00                                   $500.00        O.C.G.A. § 44-13-100(a)(4)
     Location: 263 Old Five Notch Road,
     Whitesburg GA 30185                                                                   100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     Cash                                                                 $20.00                                    $20.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: BB&T                                                      $215.00                                   $215.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: BB&T                                                        $50.00                                    $50.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): MassMutual Retirement                                    $22,603.96                               $22,603.96         O.C.G.A. § 18-4-22
     Services LLC
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Charles C. Blackwell
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         AmeriCredit/GM
 2.1                                                                                                            $62,520.00               $45,000.00           $17,520.00
         Financial                                Describe the property that secures the claim:
         Creditor's Name                          2018 GMC Sierra 25,000.00 miles
                                                  Location: 263 Old Five Notch Road,
         Attn: Bankruptcy                         Whitesburg GA 30185
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 183853                          apply.
         Arlington, TX 76096                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 08/18 Last
                                 Active
 Date debt was incurred          2/15/19                   Last 4 digits of account number        9349




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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 Debtor 1 Charles C. Blackwell                                                                                Case number (if known)   19-10958
               First Name                  Middle Name                      Last Name


         Chrysler Financial/TD
 2.2                                                                                                                 $13,512.00           $8,000.00       $5,512.00
         Auto                                       Describe the property that secures the claim:
         Creditor's Name                            2016 Ford Escape 60,000 miles
         Attn: Bankruptcy                           Location: 270 Cable Industrial Blvd.,
         P.O. Box 9223                              Carrollton, Georgia 30117
                                                    As of the date you file, the claim is: Check all that
         Farmington Hills, MI                       apply.
         48333                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 09/16 Last
                                 Active
 Date debt was incurred          1/03/19                     Last 4 digits of account number         2564


 2.3     John Deere Credit                          Describe the property that secures the claim:                    $20,822.00          $20,000.00         $822.00
         Creditor's Name                            2017 John Deere 5045 Tractor
                                                    Location: 263 Old Five Notch Road,
         6400 NW 86th St.                           Whitesburg GA 30185
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 6600                              apply.
         Johnston, IA 50131                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 4
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 Debtor 1 Charles C. Blackwell                                                                                Case number (if known)   19-10958
               First Name                  Middle Name                      Last Name


         Lincoln Automotive Fin.
 2.4                                                                                                                   $7,957.00          $7,000.00         $957.00
         Ser.                                       Describe the property that secures the claim:
         Creditor's Name                            2014 Ford Escape 50,000 miles
                                                    Location: 263 Old Five Notch Road,
         Attn: Bankruptcy                           Whitesburg GA 30185
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 542000                            apply.
         Omaha, NE 68154                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 03/15 Last
                                 Active
 Date debt was incurred          2/22/19                     Last 4 digits of account number         2634


 2.5     Synovus Bank                               Describe the property that secures the claim:                    $23,463.00         $350,980.00     $22,195.00
         Creditor's Name                            263 Old Five Notch Road
                                                    Whitesburg, GA 30185 Carroll
                                                    County
                                                    As of the date you file, the claim is: Check all that
         1111 Bay Ave                               apply.
         Columbus, GA 31901                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 01/19 Last
                                 Active
 Date debt was incurred          2/28/19                     Last 4 digits of account number         0001




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 4
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             Case 19-10958-whd                           Doc 10          Filed 05/30/19 Entered 05/30/19 19:50:38                                 Desc Main
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 Debtor 1 Charles C. Blackwell                                                                                Case number (if known)   19-10958
               First Name                  Middle Name                      Last Name


 2.6     Wells Fargo Hm Mortgag                     Describe the property that secures the claim:                   $349,712.00           $350,980.00             $0.00
         Creditor's Name                            263 Old Five Notch Road
                                                    Whitesburg, GA 30185 Carroll
                                                    County
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Cir                        apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 03/16 Last
                                 Active
 Date debt was incurred          2/28/19                     Last 4 digits of account number         0575


         Wyndham Resort
 2.7                                                                                                                 $12,192.00                 $0.00     $12,192.00
         Development                                Describe the property that secures the claim:
         Creditor's Name                            Wyndham Resort Development,
                                                    time share.
         Attn: Bankruptcy
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 98940                             apply.
         Las Vegas, NV 89193                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 2/16/15
                                 Last Active
 Date debt was incurred          2/20/19                     Last 4 digits of account number         3657



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $490,178.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $490,178.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                     Charles C. Blackwell
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Alabama Department of Revenue                          Last 4 digits of account number                          Unknown           Unknown               Unknown
              Priority Creditor's Name
              PO Box 327431                                          When was the debt incurred?
              Montgomery, AL 36132-7431
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         Trust fund portion of state withholding tax owed
                                                                                         for Blackwater Technologies, Inc., for which
                                                                                         Debtor may be personally liable.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 44
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 Debtor 1 Charles C. Blackwell                                                                             Case number (if known)            19-10958

 2.2        Georgia Depargment of Revenue                            Last 4 digits of account number                         Unknown                Unknown                 Unknown
            Priority Creditor's Name
            Taxpayer Services Division                               When was the debt incurred?
            P.O. Box 740321
            Atlanta, GA 30374-0321
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
            Debtor 1 only
                                                                        Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations
            Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes
                                                                                         Trust fund portion of state withholding tax owed
                                                                                         for Blackwater Technologies, Inc., for which
                                                                                         Debtor may be personally liable.

 2.3        Internal Revenue Service                                 Last 4 digits of account number                         Unknown                Unknown                 Unknown
            Priority Creditor's Name
            P. O. Box 7346                                           When was the debt incurred?
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
            Debtor 1 only
                                                                        Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations
            Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes
                                                                                         Trust fund portion of Federal withholding tax
                                                                                         owed for Blackwater Technologies, Inc., for which
                                                                                         Debtor may be personally liable.

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 44
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 Debtor 1 Charles C. Blackwell                                                                           Case number (if known)         19-10958

 4.1      Accu-Tech Corporation                                      Last 4 digits of account number                                                          $16,905.29
          Nonpriority Creditor's Name
          660 Hembree Pkwy                                           When was the debt incurred?
          Roswell, GA 30076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.2      Advantage Electronics, Inc.                                Last 4 digits of account number                                                            $3,863.54
          Nonpriority Creditor's Name
          1020 Edgemoor Road                                         When was the debt incurred?
          Clinton, TN 37716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.3      Aerotek, Inc.                                              Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          7301 Parkway Drive South                                   When was the debt incurred?           Aug-17
          Hanover, MD 21076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 44
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 Debtor 1 Charles C. Blackwell                                                                           Case number (if known)         19-10958

 4.4      Aflac                                                      Last 4 digits of account number                                                            $3,276.56
          Nonpriority Creditor's Name
          1932 Wynnton Road                                          When was the debt incurred?
          Columbus, GA 31999-7000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5      AGC Georgia                                                Last 4 digits of account number                                                              $758.35
          Nonpriority Creditor's Name
          P.O. Box 934023                                            When was the debt incurred?
          Atlanta, GA 31193-4023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6      Agrimerica                                                 Last 4 digits of account number                                                              $893.44
          Nonpriority Creditor's Name
          2904 Highway 27 South                                      When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 44
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 Debtor 1 Charles C. Blackwell                                                                           Case number (if known)         19-10958

 4.7      Ahern Rentals                                              Last 4 digits of account number                                                            $6,183.80
          Nonpriority Creditor's Name
          P.O. Box 271390                                            When was the debt incurred?
          Las Vegas, NV 89127-1390
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8      Alabama Power                                              Last 4 digits of account number                                                            $3,011.68
          Nonpriority Creditor's Name
          P.O. Box 242                                               When was the debt incurred?
          Birmingham, AL 35292
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9      Alere Toxicology                                           Last 4 digits of account number                                                              $181.61
          Nonpriority Creditor's Name
          P.O. Box 536506                                            When was the debt incurred?
          Pittsburgh, PA 15253-5907
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 Debtor 1 Charles C. Blackwell                                                                           Case number (if known)         19-10958

 4.1
 0        Alliance Wire & Cable, Ltd.                                Last 4 digits of account number                                                            $7,134.04
          Nonpriority Creditor's Name
          1665 Lakes Parkway                                         When was the debt incurred?
          Lawrenceville, GA 30043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 1        Allied Electronics                                         Last 4 digits of account number                                                              $228.99
          Nonpriority Creditor's Name
          7151 Jack Newell Blvd. S.                                  When was the debt incurred?
          Fort Worth, TX 76118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 2        Ally Auto Finance                                          Last 4 digits of account number                                                         $233,290.00
          Nonpriority Creditor's Name
          P.O. Box 9001948                                           When was the debt incurred?
          Louisville, KY 40290-1948
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 Debtor 1 Charles C. Blackwell                                                                           Case number (if known)         19-10958

 4.1
 3        Anixter Inc.                                               Last 4 digits of account number                                                          $16,490.08
          Nonpriority Creditor's Name
          P.O. Box 847428                                            When was the debt incurred?
          Dallas, TX 75284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 4        ASA Fire Protection                                        Last 4 digits of account number                                                              $601.00
          Nonpriority Creditor's Name
          1121 Grassdale Rd NW                                       When was the debt incurred?
          Cartersville, GA 30121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 5        Assoc. Builders and Cont.                                  Last 4 digits of account number                                                            $1,376.00
          Nonpriority Creditor's Name
          Alabama Chapter                                            When was the debt incurred?
          1830 28th Avenue South
          Birmingham, AL 35209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 6        Barclays Bank Delaware                                     Last 4 digits of account number       8886                                               $14,736.00
          Nonpriority Creditor's Name
          Attn: Correspondence                                                                             Opened 02/15 Last Active
          P.O. Box 8801                                              When was the debt incurred?           2/09/19
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Consumer charge card account primarily
              Yes                                                       Other. Specify   used for business.


 4.1
 7        Batteries Plus Bulbs                                       Last 4 digits of account number                                                            $3,160.12
          Nonpriority Creditor's Name
          BPB Company Store                                          When was the debt incurred?
          Chicago, IL 60673-1293
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 8        Battery Sales & Serv. of Atl.                              Last 4 digits of account number                                                            $3,609.00
          Nonpriority Creditor's Name
          384 Maxham Road                                            When was the debt incurred?
          Austell, GA 30168
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 9        BB&T                                                       Last 4 digits of account number       7517                                                   $602.00
          Nonpriority Creditor's Name
          In Care of Bankruptcy Dept                                                                       Opened 10/15 Last Active
          P.O. Box 1847                                              When was the debt incurred?           3/03/19
          Wilson, NC 27894
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Consumer charge card account.


 4.2
 0        BB&T                                                       Last 4 digits of account number                                                          $25,377.44
          Nonpriority Creditor's Name
          P.O. Box 580340                                            When was the debt incurred?
          Charlotte, NC 28258-0340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.2
 1        BB&T                                                       Last 4 digits of account number                                                          $25,374.32
          Nonpriority Creditor's Name
          P.O. Box 580340                                            When was the debt incurred?
          Charlotte, NC 28258-0340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.2
 2        BB&T                                                       Last 4 digits of account number                                                         $300,000.00
          Nonpriority Creditor's Name
          110 Dixie ST                                               When was the debt incurred?           3/29/2013
          Carrollton, GA 30117-3307
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Properties Management LLC.


 4.2
 3        BBC Systems, Inc.                                          Last 4 digits of account number                                                              $331.67
          Nonpriority Creditor's Name
          P.O. Box 97                                                When was the debt incurred?
          Capshaw, AL 35742
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.2
 4        Benjamin Cook                                              Last 4 digits of account number                                                            $1,800.00
          Nonpriority Creditor's Name
          1560 Reavesaville Road                                     When was the debt incurred?
          Bowdon, GA 30108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.2
 5        Blackwater Properties Mang.                                Last 4 digits of account number                                                            $6,400.00
          Nonpriority Creditor's Name
          270 Cable Industrial Blvd.                                 When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.2
 6        Bmw Bank Of North Amer                                     Last 4 digits of account number       7234                                                 $6,965.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 12/14 Last Active
          P.O. Box 3608                                              When was the debt incurred?           2/01/19
          Dublin, OH 43016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Consumer charge card account primarily
              Yes                                                       Other. Specify   used for business.


 4.2
 7        Bosch Security Systems, Inc.                               Last 4 digits of account number                                                          $15,841.54
          Nonpriority Creditor's Name
          33902 Treasury Center                                      When was the debt incurred?
          Chicago, IL 60694-3900
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.2
 8        C & C Fabrication                                          Last 4 digits of account number                                                            $2,345.00
          Nonpriority Creditor's Name
          105 Battey Street                                          When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.2
 9        Cad Girl Designs, LLC                                      Last 4 digits of account number                                                              $325.00
          Nonpriority Creditor's Name
          167 Danburg Ct.                                            When was the debt incurred?
          Jasper, GA 30143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.3
 0        Cambridge Security Seals                                   Last 4 digits of account number                                                              $222.84
          Nonpriority Creditor's Name
          One Cambridge Plaza                                        When was the debt incurred?
          Pomona, NY 10970
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.3
 1        Capital One                                                Last 4 digits of account number       3191                                                 $4,747.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/16 Last Active
          P.O. Box 30285                                             When was the debt incurred?           12/14/18
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Consumer charge card account primarily
              Yes                                                       Other. Specify   used for business.


 4.3
 2        Capital One Spark Business                                 Last 4 digits of account number       2890                                                 $9,275.63
          Nonpriority Creditor's Name
          P.O. Box 71083                                             When was the debt incurred?
          Charlotte, NC 28272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.3
 3        Capital One Spark Business                                 Last 4 digits of account number       3190                                                 $4,747.55
          Nonpriority Creditor's Name
          P.O. Box 71083                                             When was the debt incurred?
          Charlotte, NC 28272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.3
 4        Carrollton Office Equipment                                Last 4 digits of account number                                                            $2,033.50
          Nonpriority Creditor's Name
          104 Pine Knoll Dr.                                         When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.3
 5        Charter Communications                                     Last 4 digits of account number                                                              $800.00
          Nonpriority Creditor's Name
          P.O. Box 742614                                            When was the debt incurred?
          Cincinnati, OH 45274-2614
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.3
 6        Chase Card Services                                        Last 4 digits of account number       4419                                               $11,407.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/05 Last Active
          P.O. Box 15298                                             When was the debt incurred?           2/10/19
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Consumer charge card account primarily
              Yes                                                       Other. Specify   used for business.




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 4.3
 7        Citibank North America                                     Last 4 digits of account number       8513                                                 $4,143.00
          Nonpriority Creditor's Name
          Citibank Corp/Centralized Bky                                                                    Opened 12/16 Last Active
          P.O. Box 790034                                            When was the debt incurred?           2/28/19
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Consumer charge card account primarily
              Yes                                                       Other. Specify   used for business.


 4.3
 8        Citibank/The Home Depot                                    Last 4 digits of account number       3251                                                 $2,575.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized Bky                                                                   Opened 09/97 Last Active
          P.O. Box 790034                                            When was the debt incurred?           2/15/19
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Consumer charge card account.


 4.3
 9        City Electric                                              Last 4 digits of account number                                                            $2,600.00
          Nonpriority Creditor's Name
          P.O. Box 71465                                             When was the debt incurred?
          North Charleston, SC 29415
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.4
 0        City of Pelham                                             Last 4 digits of account number                                                              $152.70
          Nonpriority Creditor's Name
          3111 Cummings Street                                       When was the debt incurred?
          Pelham, AL 35124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.4
 1        CMS                                                        Last 4 digits of account number       0238                                               $35,628.14
          Nonpriority Creditor's Name
          P.O. Box 871874                                            When was the debt incurred?
          Kansas City, MO 64187-1874
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.4
 2        Compliance Group, LLC                                      Last 4 digits of account number                                                            $1,560.00
          Nonpriority Creditor's Name
          Philip Kowalske                                            When was the debt incurred?
          2669 Ridgwood Drive
          Marietta, GA 30066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.4
 3        Consulting Construction Eng.                               Last 4 digits of account number                                                            $8,950.00
          Nonpriority Creditor's Name
          Attn: Accounts Receivable                                  When was the debt incurred?
          Birmingham, AL 35202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.4
 4        Cornerstone Control Systems.                               Last 4 digits of account number                                                            $6,278.98
          Nonpriority Creditor's Name
          5600 Oakbrook Pkwy.                                        When was the debt incurred?
          Norcross, GA 30093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.4
 5        Dale Robinson                                              Last 4 digits of account number                                                          $15,000.00
          Nonpriority Creditor's Name
          125 Levi Patterson Road                                    When was the debt incurred?           11/8/2018
          Waco, GA 30182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.4
 6        Dell Business Credit                                       Last 4 digits of account number       6                                                    $1,602.06
          Nonpriority Creditor's Name
          P.O. Box 5275                                              When was the debt incurred?
          Carol Stream, IL 60197-5275
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.4
 7        DIXIE PRINTING CO, INC                                     Last 4 digits of account number                                                              $386.27
          Nonpriority Creditor's Name
          3280 HUMPHRIES HILL ROAD                                   When was the debt incurred?
          Austell, GA 30106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.4
 8        Dyatech                                                    Last 4 digits of account number                                                              $250.00
          Nonpriority Creditor's Name
          381 Highland Colony Pkwy                                   When was the debt incurred?
          Ridgeland, MS 39157
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.4
 9        EDGE Fire Protection, Inc.                                 Last 4 digits of account number                                                          $25,185.50
          Nonpriority Creditor's Name
          7 Monroe Dr                                                When was the debt incurred?
          Pelham, AL 35124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 0        Eldeco                                                     Last 4 digits of account number                                                         $556,621.14
          Nonpriority Creditor's Name
          5751 Augusta Road                                          When was the debt incurred?
          Greenville, SC 29605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 1        Electronic Security Assoc.                                 Last 4 digits of account number                                                            $1,770.00
          Nonpriority Creditor's Name
          6333 North State Hwy 161                                   When was the debt incurred?
          Irving, TX 75038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.5
 2        Energy Systems Southeast, LLC                              Last 4 digits of account number                                                                $35.79
          Nonpriority Creditor's Name
          3235 Veterans Circle                                       When was the debt incurred?
          Birmingham, AL 35235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 3        Everest Business Funding                                   Last 4 digits of account number                                                          $66,450.00
          Nonpriority Creditor's Name
          8200 NW 52nd Terrace, 2nd Fl                               When was the debt incurred?           5/30/2018
          Doral, FL 33166
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 4        Fire & Building Assoc., Inc.                               Last 4 digits of account number                                                            $4,740.00
          Nonpriority Creditor's Name
          P.O. Box 1668                                              When was the debt incurred?
          Gardendale, AL 35071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.5
 5        Fire Systems Inc                                           Last 4 digits of account number                                                              $610.00
          Nonpriority Creditor's Name
          4700 Highlands Parkway                                     When was the debt incurred?
          Smyrna, GA 30082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 6        Ford Credit                                                Last 4 digits of account number                                                          $46,430.00
          Nonpriority Creditor's Name
          P.O. Box 790093                                            When was the debt incurred?
          St. Louis, MO 63179-0093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 7        Forward Funding                                            Last 4 digits of account number                                                         $134,942.00
          Nonpriority Creditor's Name
          100 Summer Street, Suite 1174                              When was the debt incurred?           7/5/2018
          Boston, MA 02110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.5
 8        Frank S. Brush                                             Last 4 digits of account number                                                            $3,600.00
          Nonpriority Creditor's Name
          2221 Hunters Cove                                          When was the debt incurred?           Feb-19
          Birmingham, AL 35216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.5
 9        Fred Pryor Seminars                                        Last 4 digits of account number       0509                                                     $90.00
          Nonpriority Creditor's Name
          P.O. Box 171315                                            When was the debt incurred?
          Kansas City, KS 66117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 0        Gables Sporting Goods                                      Last 4 digits of account number                                                              $449.98
          Nonpriority Creditor's Name
          6250 Fairburn Rd.                                          When was the debt incurred?
          Douglasville, GA 30134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.6
 1        GAFSED                                                     Last 4 digits of account number                                                              $175.00
          Nonpriority Creditor's Name
          P.O. Box 345                                               When was the debt incurred?
          Elberton, GA 30635
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 2        Getz Fire Equipment                                        Last 4 digits of account number                                                              $199.24
          Nonpriority Creditor's Name
          P.O. Box 419                                               When was the debt incurred?
          Peoria, IL 61651-0419
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 3        GHD Inc.                                                   Last 4 digits of account number                                                            $3,477.50
          Nonpriority Creditor's Name
          Dept. LA 23922                                             When was the debt incurred?
          Pasadena, CA 91185-3922
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.6
 4        GM Financial                                               Last 4 digits of account number                                                          $63,957.49
          Nonpriority Creditor's Name
          P.O. Box 78143                                             When was the debt incurred?
          Phoenix, AZ 85062-8143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 5        Grainger Inc.                                              Last 4 digits of account number       1972                                                 $2,047.18
          Nonpriority Creditor's Name
          5862 HARRISON AVE.                                         When was the debt incurred?
          Rockford, IL 61108-8127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 6        Graybar Financial Services                                 Last 4 digits of account number                                                          $30,000.00
          Nonpriority Creditor's Name
          P.O. Box 742647                                            When was the debt incurred?           8/30/2017
          Cincinnati, OH 45274-2647
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.6
 7        Guardian Safety Sol. Inter.                                Last 4 digits of account number                                                              $796.75
          Nonpriority Creditor's Name
          8701 Carpenter Freeway                                     When was the debt incurred?
          Suite 230
          Dallas, TX 75247
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 8        HD Supply Co.                                              Last 4 digits of account number                                                            $5,948.06
          Nonpriority Creditor's Name
          1872 Marietta Blvd.                                        When was the debt incurred?
          Atlanta, GA 30318
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.6
 9        Home Depot                                                 Last 4 digits of account number                                                            $4,838.52
          Nonpriority Creditor's Name
          P.O. Box 790340                                            When was the debt incurred?
          St. Louis, MO 63179-0340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.7
 0        Honeywell Fire Systems US                                  Last 4 digits of account number       2972                                               $37,333.09
          Nonpriority Creditor's Name
          12 Clintonville Rd                                         When was the debt incurred?
          Northford, CT 06472
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.7
 1        Honeywell Fire Systems US                                  Last 4 digits of account number                                                         $170,661.60
          Nonpriority Creditor's Name
          12 Clintonville Rd                                         When was the debt incurred?
          Northford, CT 06472
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.7
 2        Inter. Fire Protection Inc.                                Last 4 digits of account number                                                            $2,426.00
          Nonpriority Creditor's Name
          243 Royal Dr                                               When was the debt incurred?
          Madison, AL 35758
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.7
 3        Interstate All Battery Center                              Last 4 digits of account number       4026                                               $15,981.55
          Nonpriority Creditor's Name
          5886 Wendy Bagwell Parkway                                 When was the debt incurred?
          Hiram, GA 30141
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.7
 4        J&K                                                        Last 4 digits of account number                                                          $58,817.12
          Nonpriority Creditor's Name
          18 N. Main St                                              When was the debt incurred?
          P.O. BOX 129
          Graysville, AL 35073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.7
 5        JMAC                                                       Last 4 digits of account number                                                            $8,056.58
          Nonpriority Creditor's Name
          333 W. Merrick Rd. Unit 4                                  When was the debt incurred?
          Valley Stream, NY 11580
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.7
 6        Johnson Controls, Inc.                                     Last 4 digits of account number                                                            $6,733.44
          Nonpriority Creditor's Name
          1350 Northmeadow Pkwy., #100                               When was the debt incurred?
          Roswell, GA 30076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.7
 7        L & J Fire Equipment                                       Last 4 digits of account number       8317                                                 $8,129.51
          Nonpriority Creditor's Name
          953 NE Osceola Ave.                                        When was the debt incurred?
          Ocala, FL 34470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.7
 8        Lafon & Hall (SDI)                                         Last 4 digits of account number                                                          $23,514.96
          Nonpriority Creditor's Name
          1301 Bombay Lane                                           When was the debt incurred?
          Roswell, GA 30077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.7
 9        Light Engin. Displays, Inc.                                Last 4 digits of account number                                                            $1,010.25
          Nonpriority Creditor's Name
          109 Portwatch Way                                          When was the debt incurred?
          Wilmington, NC 28412
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 0        Marathon Electrical Cont., Inc                             Last 4 digits of account number                                                          $52,697.43
          Nonpriority Creditor's Name
          2830 Commerce Blvd                                         When was the debt incurred?
          Irondale, AL 35210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 1        MassMutual                                                 Last 4 digits of account number                                                              $450.00
          Nonpriority Creditor's Name
          Retirement Services                                        When was the debt incurred?
          P.O. Box 1583
          Hartford, CT 06144-1583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.8
 2        Monaco Enterprises, Inc.                                   Last 4 digits of account number                                                            $5,150.00
          Nonpriority Creditor's Name
          P.O. Box 14129                                             When was the debt incurred?
          Spokane Valley, WA 99214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 3        Mullins Electrical, LLC                                    Last 4 digits of account number                                                            $4,658.56
          Nonpriority Creditor's Name
          568 Asa Cash Rd                                            When was the debt incurred?
          Bremen, GA 30110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 4        Nichols Fire & Security, LLC.                              Last 4 digits of account number                                                          $10,003.02
          Nonpriority Creditor's Name
          1906 Vanderhorn                                            When was the debt incurred?
          Memphis, TN 38134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.8
 5        O2 Plus Inc.                                               Last 4 digits of account number       2930                                                   $181.60
          Nonpriority Creditor's Name
          163 N. Hwy 113                                             When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 6        Oracle Elevator Company                                    Last 4 digits of account number                                                            $1,791.70
          Nonpriority Creditor's Name
          1807 1st Aveneu                                            When was the debt incurred?
          Columbus, GA 31901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 7        Pelham Water Works                                         Last 4 digits of account number                                                              $292.78
          Nonpriority Creditor's Name
          PO Box 1479                                                When was the debt incurred?
          Pelham, AL 35124-1479
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.8
 8        Potter Signal                                              Last 4 digits of account number                                                          $74,653.22
          Nonpriority Creditor's Name
          5757 Phantom Drive                                         When was the debt incurred?
          St. Louis, MO 63042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.8
 9        Pro-Tec Fire & Safety                                      Last 4 digits of account number                                                          $80,188.00
          Nonpriority Creditor's Name
          3440 Pro-Tec Way                                           When was the debt incurred?
          Loganville, GA 30052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 0        Professional Acct Mgmt, Inc.                               Last 4 digits of account number       3930                                                     $25.45
          Nonpriority Creditor's Name
          State Road and Tollway Auth.                               When was the debt incurred?           1/15/2019
          P.O. Box 671
          Milwaukee, WI 53201-0671
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.9
 1        Resitech Wire and Cable                                    Last 4 digits of account number                                                            $9,231.15
          Nonpriority Creditor's Name
          Suite 640                                                  When was the debt incurred?
          2150 Boggs Rd
          Duluth, GA 30096
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 2        Robinson's Electric                                        Last 4 digits of account number                                                          $19,000.00
          Nonpriority Creditor's Name
          125 Levi Patterson Road                                    When was the debt incurred?
          Waco, GA 30182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 3        RYBB                                                       Last 4 digits of account number                                                            $1,307.77
          Nonpriority Creditor's Name
          787 Glendale Ln                                            When was the debt incurred?
          Orange Park, FL 32065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.9
 4        ScanSource Networking and Sec.                             Last 4 digits of account number                                                            $1,505.97
          Nonpriority Creditor's Name
          6 Logue Ct.                                                When was the debt incurred?
          Greenville, SC 29615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 5        Scott Evans Nissan                                         Last 4 digits of account number                                                            $3,425.70
          Nonpriority Creditor's Name
          725 Bankhead Highway                                       When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 6        Semi Gas- Applied Energy Sys                               Last 4 digits of account number                                                              $937.50
          Nonpriority Creditor's Name
          180 Quaker Lane                                            When was the debt incurred?
          Malvern, PA 19355
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.9
 7        SERVPRO of Birmingham.                                     Last 4 digits of account number                                                            $1,158.00
          Nonpriority Creditor's Name
          PO Box 1327                                                When was the debt incurred?
          Pelham, AL 35124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 8        Shooter Detection Systems                                  Last 4 digits of account number                                                              $750.00
          Nonpriority Creditor's Name
          300 Newburyport Turnpike                                   When was the debt incurred?
          Rowley, MA 01969
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.9
 9        SimplexGrinnell                                            Last 4 digits of account number                                                            $2,206.92
          Nonpriority Creditor's Name
          50 Technology Drive                                        When was the debt incurred?
          Westminster, MA 01441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 00       Software House                                             Last 4 digits of account number                                                          $10,309.24
          Nonpriority Creditor's Name
          P.O.Box 281021                                             When was the debt incurred?
          Atlanta, GA 30384-1021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 01       Southeastern System Tech.                                  Last 4 digits of account number                                                          $19,954.38
          Nonpriority Creditor's Name
          P.O. Box 780                                               When was the debt incurred?
          Baxley, GA 31515
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 02       Southern Fire & Controls, Inc.                             Last 4 digits of account number                                                              $800.00
          Nonpriority Creditor's Name
          P.O. Box 370                                               When was the debt incurred?
          Hogansville, GA 30230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 03       Space Age Electronics                                      Last 4 digits of account number       T301                                                 $5,627.55
          Nonpriority Creditor's Name
          58 Chocksett Road                                          When was the debt incurred?
          Sterling, MA 01564
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 04       Standard                                                   Last 4 digits of account number       0001                                                 $1,334.96
          Nonpriority Creditor's Name
          P.O. Box 645311                                            When was the debt incurred?
          Cincinnati, OH 45264-5311
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 05       Stentofon/Zenitel USA, Inc.                                Last 4 digits of account number                                                          $29,361.42
          Nonpriority Creditor's Name
          6119 Conneticut Avenue                                     When was the debt incurred?
          Kansas City, MO 06412
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 06       SyncGlobal                                                 Last 4 digits of account number                                                            $1,004.85
          Nonpriority Creditor's Name
          1090-A Pacific Avenue                                      When was the debt incurred?
          Bremen, GA 30110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 07       Synovus Bank                                               Last 4 digits of account number       0001                                               $10,531.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/17 Last Active
          1111 Bay Ave                                               When was the debt incurred?           2/01/19
          Columbus, GA 31901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured Line of Credit


 4.1
 08       Synovus Bank Credit Line                                   Last 4 digits of account number       0001                                               $97,656.26
          Nonpriority Creditor's Name
          810 South Park St                                          When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 09       Systems Distributors                                       Last 4 digits of account number                                                          $23,514.96
          Nonpriority Creditor's Name
          1301 Bombay Lane                                           When was the debt incurred?
          Roswell, GA 30077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 10       TD Auto Finance                                            Last 4 digits of account number                                                          $13,500.00
          Nonpriority Creditor's Name
          P.O. Box 16035                                             When was the debt incurred?
          Lewiston, ME 04243-9517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 11       TEG Lease                                                  Last 4 digits of account number                                                                $95.20
          Nonpriority Creditor's Name
          1343 Owenby Drive                                          When was the debt incurred?
          Marietta, GA 30066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 12       Telular Corporation                                        Last 4 digits of account number       7261                                                   $166.60
          Nonpriority Creditor's Name
          Dept CH 17694                                              When was the debt incurred?
          3225 Cumberland Blvd SE
          Palatine, IL 60055-7694
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 13       The Systems Depot, Inc.                                    Last 4 digits of account number       0684                                                 $7,607.54
          Nonpriority Creditor's Name
          P.O. Box 200                                               When was the debt incurred?
          Hickory, NC 28603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 14       Tisinger Vance, P.C.                                       Last 4 digits of account number       2938                                                 $2,886.92
          Nonpriority Creditor's Name
          100 Wagon Yard Plaza                                       When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 15       Trash Taxi                                                 Last 4 digits of account number                                                              $378.00
          Nonpriority Creditor's Name
          656 Stuart Lane                                            When was the debt incurred?
          Pelham, AL 35124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 16       TRI-ED/ANIXTER                                             Last 4 digits of account number                                                          $17,609.82
          Nonpriority Creditor's Name
          3625 Cincinnati Avenue                                     When was the debt incurred?
          Rocklin, CA 09576
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 17       ULINE                                                      Last 4 digits of account number       4097                                                     $81.44
          Nonpriority Creditor's Name
          ATTN:ACCOUNTS RECEIVABLE                                   When was the debt incurred?
          P.O. Box 88741
          CHICAGO, IL 06068-0174
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




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 4.1
 18       Unique Funding                                             Last 4 digits of account number                                                         $101,293.50
          Nonpriority Creditor's Name
          2715 Coney Island Avenue                                   When was the debt incurred?           8/16/2018
          Brooklyn, NY 11235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 19       UPS                                                        Last 4 digits of account number       A6X3                                                 $1,034.08
          Nonpriority Creditor's Name
          P.O. Box 7247-0244                                         When was the debt incurred?
          Philadelphia, PA 19170-0001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 20       Verizon Wireless                                           Last 4 digits of account number                                                            $1,927.99
          Nonpriority Creditor's Name
          P.O. Box 660108                                            When was the debt incurred?
          Dallas, TX 75266-0108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 42 of 44
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 Debtor 1 Charles C. Blackwell                                                                           Case number (if known)         19-10958

 4.1
 21       Watson Automotive                                          Last 4 digits of account number                                                              $110.28
          Nonpriority Creditor's Name
          324 Columbia Drive                                         When was the debt incurred?
          Carrollton, GA 30117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 22       Wells Fargo                                                Last 4 digits of account number                                                          $48,842.00
          Nonpriority Creditor's Name
          PO Box 17900                                               When was the debt incurred?
          Denver, CO 80217-0900
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.


 4.1
 23       Windy City Wire                                            Last 4 digits of account number       8510                                                 $4,311.22
          Nonpriority Creditor's Name
          29066 Network Place                                        When was the debt incurred?
          Chicago, IL 60672-1290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible guarantee of debt of Blackwater
              Yes                                                       Other. Specify   Technologies, Inc.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 43 of 44
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 4.1
 24        XTRALIS INC                                               Last 4 digits of account number                                                               $64,115.14
           Nonpriority Creditor's Name
           175 BODWELL ST                                            When was the debt incurred?
           AVON, MA 02322
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Possible guarantee of debt of Blackwater
              Yes                                                        Other. Specify   Technologies, Inc.

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kitchens Kelley Gaynes P.C.                                   Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Glenridge Highlands 1, Ste 800                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 5555 Glenridge COnnector
 Atlanta, GA 30342
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                2,832,118.51

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                2,832,118.51




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 44 of 44
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 Fill in this information to identify your case:

 Debtor 1                  Charles C. Blackwell
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Charles C. Blackwell
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Blackwater Properties Man. LLC                                                         Schedule D, line
                263 Old Five Notch Road                                                                Schedule E/F, line    4.22
                Whitesburg, GA 30185
                                                                                                       Schedule G
                                                                                                     BB&T



    3.2         Blackwater Technologies, Inc.                                                          Schedule D, line
                270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.1
                Carrollton, GA 30117
                                                                                                       Schedule G
                                                                                                     Accu-Tech Corporation



    3.3         Blackwater Technologies, Inc.                                                          Schedule D, line
                270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.2
                Carrollton, GA 30117
                                                                                                       Schedule G
                                                                                                     Advantage Electronics, Inc.




Official Form 106H                                                               Schedule H: Your Codebtors                               Page 1 of 10
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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.3
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Aerotek, Inc.



    3.5      Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.4
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Aflac



    3.6      Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.5
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  AGC Georgia



    3.7      Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.6
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Agrimerica



    3.8      Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.7
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Ahern Rentals



    3.9      Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.8
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Alabama Power



    3.10     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.9
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Alere Toxicology



    3.11     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line  4.10
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Alliance Wire & Cable, Ltd.




Official Form 106H                                                            Schedule H: Your Codebtors                              Page 2 of 10
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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.11
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Allied Electronics



    3.13     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.12
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Ally Auto Finance



    3.14     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.13
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Anixter Inc.



    3.15     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.14
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  ASA Fire Protection



    3.16     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.15
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Assoc. Builders and Cont.



    3.17     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.27
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Bosch Security Systems, Inc.



    3.18     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.28
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  C & C Fabrication



    3.19     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.30
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Cambridge Security Seals




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.20     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.29
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Cad Girl Designs, LLC



    3.21     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.32
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Capital One Spark Business



    3.22     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.33
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Capital One Spark Business



    3.23     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line   4.34
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Carrollton Office Equipment



    3.24     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.35
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Charter Communications



    3.25     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.39
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  City Electric



    3.26     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.40
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  City of Pelham



    3.27     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.41
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  CMS




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.28     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.42
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Compliance Group, LLC



    3.29     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.43
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Consulting Construction Eng.



    3.30     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.44
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Cornerstone Control Systems.



    3.31     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.46
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Dell Business Credit



    3.32     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.47
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  DIXIE PRINTING CO, INC



    3.33     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.48
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Dyatech



    3.34     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line   4.49
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  EDGE Fire Protection, Inc.



    3.35     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.50
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Eldeco




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.36     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line  4.51
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Electronic Security Assoc.



    3.37     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.52
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Energy Systems Southeast, LLC



    3.38     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.53
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Everest Business Funding



    3.39     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.55
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Fire Systems Inc



    3.40     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line  4.54
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Fire & Building Assoc., Inc.



    3.41     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.56
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Ford Credit



    3.42     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.57
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Forward Funding



    3.43     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.58
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Frank S. Brush




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.44     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.59
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Fred Pryor Seminars



    3.45     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.60
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Gables Sporting Goods



    3.46     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.61
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  GAFSED



    3.47     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.62
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Getz Fire Equipment



    3.48     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.63
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  GHD Inc.



    3.49     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.64
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  GM Financial



    3.50     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.65
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Grainger Inc.



    3.51     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line   4.66
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Graybar Financial Services




Official Form 106H                                                            Schedule H: Your Codebtors                              Page 7 of 10
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 Debtor 1 Charles C. Blackwell                                                               Case number (if known)   19-10958


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.52     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line   4.67
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Guardian Safety Sol. Inter.



    3.53     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.68
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  HD Supply Co.



    3.54     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.69
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Home Depot



    3.55     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line    4.72
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Inter. Fire Protection Inc.



    3.56     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line   4.73
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Interstate All Battery Center



    3.57     Blackwater Technologies, Inc.                                                         Schedule D, line
             270 Cable Industrial Blvd.                                                            Schedule E/F, line       4.74
             Carrollton, GA 30117
                                                                                                   Schedule G
                                                                                                  J&K



    3.58     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.75
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  JMAC



    3.59     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line   4.76
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Johnson Controls, Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                              Page 8 of 10
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 Debtor 1 Charles C. Blackwell                                                               Case number (if known)   19-10958


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.60     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line     4.77
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  L & J Fire Equipment



    3.61     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.78
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Lafon & Hall (SDI)



    3.62     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line   4.79
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Light Engin. Displays, Inc.



    3.63     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.80
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Marathon Electrical Cont., Inc



    3.64     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.81
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  MassMutual



    3.65     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line  4.82
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Monaco Enterprises, Inc.



    3.66     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line    4.83
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Mullins Electrical, LLC



    3.67     Blackwater Technologies, Inc.                                                          Schedule D, line   2.2
             270 Cable Industrial Blvd.                                                             Schedule E/F, line
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Chrysler Financial/TD Auto




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 Debtor 1 Charles C. Blackwell                                                               Case number (if known)   19-10958


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.68     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.71
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Honeywell Fire Systems US



    3.69     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 4.70
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Honeywell Fire Systems US



    3.70     Blackwater Technologies, Inc.                                                           Schedule D, line
             270 Cable Industrial Blvd.                                                              Schedule E/F, line 2.3
             Carrollton, GA 30117
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.71     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 2.1
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Alabama Department of Revenue



    3.72     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line 2.2
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  Georgia Depargment of Revenue



    3.73     Blackwater Technologies, Inc.                                                          Schedule D, line
             270 Cable Industrial Blvd.                                                             Schedule E/F, line      4.22
             Carrollton, GA 30117
                                                                                                    Schedule G
                                                                                                  BB&T



    3.74     David Munro                                                                            Schedule D, line
             763 Wantland Road                                                                      Schedule E/F, line      4.22
             Bowdon, GA 30108
                                                                                                    Schedule G
                                                                                                  BB&T




Official Form 106H                                                            Schedule H: Your Codebtors                              Page 10 of 10
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Fill in this information to identify your case:

Debtor 1                      Charles C. Blackwell

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number               19-10958                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            CEO                                         HR Business Consultant
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Blackwater Technologies, Inc.               Georgia Power Company

       Occupation may include student        Employer's address
                                                                   270 Cable Industrial Blvd.                  241 Ralph McGill Boulevard NE
       or homemaker, if it applies.
                                                                   Carrollton, GA 30117                        Atlanta, GA 30308-3374

                                             How long employed there?         10 year                                   13 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       10,001.33         $         8,331.72

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     10,001.33               $   8,331.72




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1   Charles C. Blackwell                                                                  Case number (if known)    19-10958


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $     10,001.33       $         8,331.72

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      3,405.74       $          1,591.16
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $              0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $            766.34
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $              0.00
     5e.    Insurance                                                                     5e.        $          0.00       $            624.40
     5f.    Domestic support obligations                                                  5f.        $          0.00       $              0.00
     5g.    Union dues                                                                    5g.        $          0.00       $              0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $              0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,405.74       $          2,981.90
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          6,595.59       $          5,349.82
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,595.59 + $       5,349.82 = $           11,945.41
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          11,945.41
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Charles C. Blackwell                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number           19-10958
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  10                   Yes
                                                                                                                                             No
                                                                                   Son                                  21                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,332.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            600.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            250.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Charles C. Blackwell                                                                      Case number (if known)      19-10958

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                              535.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               25.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                              700.00
      6d. Other. Specify:                                                                                    6d.   $                                0.00
7.    Food and housekeeping supplies                                                                          7.   $                            1,750.00
8.    Childcare and children’s education costs                                                                8.   $                                0.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                              500.00
10.   Personal care products and services                                                                    10.   $                              350.00
11.   Medical and dental expenses                                                                            11.   $                              100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 650.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                 450.00
14.   Charitable contributions and religious donations                                                       14. $                                 250.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                                 0.00
      15b. Health insurance                                                                                15b.    $                                 0.00
      15c. Vehicle insurance                                                                               15c.    $                               370.00
      15d. Other insurance. Specify:                                                                       15d.    $                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                               16. $                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                      17a.    $                            1,159.00
      17b. Car payments for Vehicle 2                                                                      17b.    $                              886.00
      17c. Other. Specify: Daughter's car payment                                                          17c.    $                              450.00
      17d. Other. Specify: John Deere Tractor                                                              17d.    $                              490.45
             Wyhdom Resort                                                                                         $                               56.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                      0.00
19. Other payments you make to support others who do not live with you.                         $                                                     0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                       0.00
    20b. Real estate taxes                                                               20b. $                                                       0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21. Other: Specify:                                                                        21. +$                                                     0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                    11,903.45
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                    11,903.45
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              11,945.41
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             11,903.45

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  41.96

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                  Charles C. Blackwell
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number            19-10958
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         AmeriCredit/GM Financial                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 2018 GMC Sierra 25,000.00                                Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: Location: 263 Old Five Notch
                   Road, Whitesburg GA 30185


    Creditor's         Chrysler Financial/TD Auto                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 2016 Ford Escape 60,000 miles                            Reaffirmation Agreement.
    property       Location: 270 Cable Industrial                           Retain the property and [explain]:
    securing debt: Blvd., Carrollton, Georgia 30117



    Creditor's         John Deere Credit                                    Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2017 John Deere 5045 Tractor                      Reaffirmation Agreement.
                          Location: 263 Old Five Notch

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Charles C. Blackwell                                                                   Case number (if known)    19-10958

    property            Road, Whitesburg GA 30185                           Retain the property and [explain]:
    securing debt:



    Creditor's     Lincoln Automotive Fin. Ser.                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 2014 Ford Escape 50,000 miles                            Reaffirmation Agreement.
    property       Location: 263 Old Five Notch                             Retain the property and [explain]:
    securing debt: Road, Whitesburg GA 30185



    Creditor's     Synovus Bank                                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 263 Old Five Notch Road                                  Reaffirmation Agreement.
    property       Whitesburg, GA 30185 Carroll                             Retain the property and [explain]:
    securing debt: County



    Creditor's     Wells Fargo Hm Mortgag                                   Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 263 Old Five Notch Road                                  Reaffirmation Agreement.
    property       Whitesburg, GA 30185 Carroll                             Retain the property and [explain]:
    securing debt: County



    Creditor's     Wyndham Resort Development                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      Wyndham Resort Development,                         Reaffirmation Agreement.
    property            time share.                                         Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Charles C. Blackwell                                                                  Case number (if known)   19-10958

 Description of leased                                                                                                         Yes
 Property:

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Charles C. Blackwell                                                     X
       Charles C. Blackwell                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        May 30, 2019                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

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 Fill in this information to identify your case:

 Debtor 1                   Charles C. Blackwell
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number           19-10958
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             350,980.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             189,756.24

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             540,736.24

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             490,178.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,832,118.51


                                                                                                                                     Your total liabilities $             3,322,296.51


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              11,945.41

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              11,903.45

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Charles C. Blackwell                                                       Case number (if known) 19-10958

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Charles C. Blackwell
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number              19-10958
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Charles C. Blackwell                                                  X
              Charles C. Blackwell                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       May 30, 2019                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       Charles C. Blackwell                                                                             Case No.      19-10958
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,500.00
             Prior to the filing of this statement I have received                                        $                  3,500.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning; preparation and filing of reaffirmation agreements and applications as needed; preparation
                 and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor(s) in any dischargeability actions, judicial lien avoidances, relief from stay actions,
               objection to exemption matters or any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 30, 2019                                                                 /s/ J. Nevin Smith
     Date                                                                         J. Nevin Smith 661110
                                                                                  Signature of Attorney
                                                                                  SMITH CONERLY LLP
                                                                                  402 Newnan Street
                                                                                  Carrollton, GA 30117
                                                                                  770-834-1160 Fax: 770-834-1190
                                                                                  awilson@smithconerly.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Charles C. Blackwell                                                                     Case No.   19-10958
                                                                                   Debtor(s)         Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: May 30, 2019                                                     /s/ Charles C. Blackwell
                                                                        Charles C. Blackwell
                                                                        Signature of Debtor




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Charles C. Blackwell
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of Georgia                           2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           19-10958
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                      Copy here -> $                             $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $             Copy here -> $                             $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Charles C. Blackwell                                                                    Case number (if known)   19-10958


                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =    $

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>             $


              Multiply by 12 (the number of months in a year)                                                                                       x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.    $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Charles C. Blackwell
                Charles C. Blackwell
                Signature of Debtor 1
        Date May 30, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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 Fill in this information to identify your case:

 Debtor 1            Charles C. Blackwell

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of Georgia

 Case number         19-10958                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                                                                                                If your exclusion period ends before your case is closed,
                          ending on                  , which is fewer than 540 days before I
                          file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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